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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA
                                            Hon.    Stanley R.   Chesler
             V.
                                            No.    09-cr-299   (SRC)
JAMES CROSS and
SAMUEL GRAVES                               ORDER FOR CONTINUANCE


             An indictment charging defendants each with being a

felon in possession of a firearm in violation of Title 18,                     United

States Code,      Section 922(g) (1),    having been filed on April 20,

2009;   defendant JAMES CROSS having been represented by the Robert

Olejar,    Esq.   and defendant SAMUEL GRAVES having been represented

by Michael Gilberti,      Esq.;   and no bail having been set;           and

defendants and their counsel being aware that a trial must be

held within 70 days of the filing of the indictment on this

charge,    pursuant to Title 18,     United States Code,         Section

3161(b);    and two continuances having previously been granted by

the Court pursuant to Title 18,          United States Code,       Section

3161(h) (7) (A),    so that the parties could attempt to reach a plea

agreement;    the Government and defendants hereby request a third

continuance pursuant to Title 18,           United States Code,        Section

3161(h) (7) (A)    in order to permit the time necessary to afford the

parties the opportunity to reach plea agreements which would

thereby render trial of this matter unnecessary;

             IT IS on this                 day of September,     2009
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             ORDERED that from the date this Order is entered,             to

 and including November 17,      2009,   shall be excluded in calculating

 the time within which a trial must be held under the Speedy Trial

 Act for the following reasons:

             1.      Plea negotiations currently are in progress,          and

 both the United States and defendants desire additional time to



 this
 negotiate pleas in Court,      which would thereby render trial of

        matter unnecessary.

             2.     Pursuant to Title 18,   United States Code,      Section

 3161(h) (7) (A),    the ends of justice served by granting the

 continuance outweigh the best interest of the public and the

 defendants in a speedy trial.

 SEEN AND AGREED:




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M1cf1ael Gil$r’ti, Esq.
 Counsel pf Samuel Graves


 Robert 9lejar,  sq.
 Counsel for James Cross




                                                       R. CHESLER
                                            States District Chief Judge
